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                                  UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION                               )
OPIATE LITIGATION                                          ) MDL No. 2804
                                                           )
                                                           ) Case No. 1:17-MD-2804
This document relates to:                                  )
                                                           ) Judge Dan Aaron Polster
All MDL Tribal Cases                                       )
                                                           )
                                                           )


      ORDER DIRECTING ADDITIONAL TRIBAL SETTLEMENT PAYMENTS TO
          PREVIOUSLY ESTABLISHED QUALIFIED SETTLEMENT FUND

         The Plaintiff Tribal Leadership Committee (“TLC”) appointed by this Court, on behalf of

the Participating Tribes, has recently reached settlements-in-principle (the “Additional Tribal

Settlements”) with: (1) Amneal Pharmaceuticals, Inc. (“Amneal”); (2) Apotex Inc. (“Apotex”); (3)

Indivior PLC (“Indivior”); (4) Sun Pharmaceutical Industries Limited (“Sun”); (5) Hikma

Pharmaceuticals USA Inc. (“Hikma”); (6) Mylan/Viatris (“Mylan”); and (7) Alvogen, Inc.

(“Alvogen”) (collectively the “Settling Defendants”).1 The Additional Tribal Settlements are or

will be more specifically described in certain Tribal Settlement Agreements 2 specific to each

Settling Defendant. Each of the Additional Tribal Settlements require that each of the Settling

Defendants will make payment into a Settlement Trust, which Trust will hold and distribute certain

sub-funds as provided by the applicable Tribal Settlement Agreement.




1
  Wherever referenced, the term “Settling Defendants” shall include any related entities and affiliates named under
each Settlement Agreement, and any and all respective past and present direct or indirect parents, subsidiaries,
divisions, affiliates, joint ventures, predecessors, successors, insurers, assigns, or shareholders related to each entity.
2
 The term “Tribal Settlement Agreement” refers to the Settlement Agreements between and among each Settling
Defendant and Participating Tribes (as defined in the respective Tribal Settlement Agreement). Capitalized terms used
herein but not otherwise defined shall have the meanings ascribed to them by the Tribal Settlement Agreements.
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       Previously, the TLC asked the Court to establish a qualified settlement fund (the “Tribal

QSF”) within the meaning of section 468B of the Internal Revenue Code of 1986, as amended,

and Treasury Regulation Sections 1.468B-1, et seq., to hold and distribute the funds arising from

various tribal settlements being negotiated in 2025 (including, without limitation, the Additional

Tribal Settlements). The Court granted this request on March 11, 2025, by entry of its “Order to

Establish Qualified Settlement Fund for Tribal Allocation and Appoint Trustee and QSF

Administrator” (docket no. 6009) (“Tribal QSF Order”). This Tribal QSF Order established the

Tribal QSF, known formally as the “2025 Multi Defendant Tribal Opioid Settlement Trust,” and

appointed Special Master David R. Cohen as Trustee and QSF administrator for purposes of

Treasury Regulations Section 1.468B-2(k)(3).

       The Court now ORDERS that the Settlement Trust funds for the Settling Defendants

arising from the Additional Tribal Settlements shall be held in and distributed from the 2025 Multi

Defendant Tribal Opioid Settlement Trust.

       The fees of the Trustee/QSF Administrator and any fee panel members, advisors, vendors,

and services he determines to be necessary and appropriate to conduct and complete his work

(including, without limitation, those incurred prior to the fulfillment of the conditions precedent

of the Tribal Settlement Agreements), shall be paid for or reimbursed from the interest generated

by the funds held within the Settlement Trusts, or, thereafter, from the Settlement Trust funds.

       Accordingly, as set forth in detail above and consistent with the foregoing, the Court hereby

ORDERS as follows:

           1. The Settlement Trust funds created pursuant to the Additional Tribal Settlements

               with the Settling Defendants shall be held in and distributed from The 2025 Multi

               Defendant Tribal Opioid Settlement Trust established by this Court pursuant to the

               Prior Establishing Order.
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          2. The 2025 Multi Defendant Tribal Opioid Settlement Trust qualified settlement fund

             was established by this Court pursuant to the Tribal QSF Order (docket no. 6009)

             to resolve or satisfy one or more claims raised in this matter, and the Court retains

             continuing jurisdiction over the 2025 Multi Defendant Tribal Opioid Settlement

             Trust qualified settlement fund (including, without limitation, the Settling

             Defendant-specific funds to be contained therein).

          3. Special Master David R. Cohen shall serve as Trustee and QSF Administrator for

             the 2025 Multi Defendant Tribal Opioid Settlement Trust qualified settlement fund

             established by and as set forth in the Prior Establishing Order and this Order.

IT IS SO ORDERED.

                                                   /s/ Dan Aaron Polster
                                                   DAN AARON POLSTER
                                                   UNITED STATES DISTRICT JUDGE

Dated: June 30, 2025
